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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS


  TEXAS TOP COP SHOP, INC., ET AL.,         CIVIL ACTION NO.: 4:24-CV-00478-ALM
        Plaintiffs,
                                             REPLY IN SUPPORT OF PLAINTIFFS’ MOTION
  v.                                              FOR PRELIMINARY INJUNCTION

  MERRICK GARLAND, ATTORNEY GENERAL OF
  THE UNITED STATES,
  ET AL.
         Defendants.
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 I. PLAINTIFFS FACE IRREPARABLE HARM ABSENT THE INJUNCTION

          Unless Defendants are enjoined from enforcing the CTA, Plaintiffs will soon suffer irreparable injuries

 from nonrecoverable compliance costs and injury to constitutional rights. See Pl. Br. at 28. In response,

 though, the Government says, “Plaintiffs’ delay in seeking preliminary relief following passage of the CTA

 weighs heavily against any argument that they might suffer imminent, irreparable injury absent emergency

 relief,” on the same page that it says the request is premature because “[n]o Plaintiff is required to comply

 with the CTA until January 1, 2025.” Def. Br. at 8. Both cannot be true. This pre-enforcement challenge has

 been brought as soon as practicable and before the looming deadline.

          Without mentioning Rest. Law Ctr. v. DOL, 66 F.4th 593 (5th Cir. 2023), the Government next says,

 “Plaintiffs have not shown that their own alleged compliance costs are more than de minimis,” because they

 rely on “wholly conclusory” declarations. Def. Br. at 9. But in Rest. Law Ctr. the Fifth Circuit rejected the same

 argument as “meritless.” 66 F.4th at 598. That case also involved a preliminary challenge to a federal

 regulation, and the plaintiffs had argued they suffered irreparable injuries from unrecoverable compliance

 costs. Id. at 597. The plaintiffs “point[ed] out that the Department concedes that some businesses will incur

 ongoing costs to comply with the rule,” and “produced uncontested evidence that ... project precisely those

 kinds of ongoing management costs.” Id. at 597-98. Even though “Plaintiffs did not convert each allegation

 of harm into a specific dollar amount,” they had amply shown irreparable harm. Id. at 599-600.

          The proof presented here is of the same type involved in that case, and likewise demonstrates

 significant costs that cannot be recovered. The Government incorrectly says that the only evidence presented

 by Plaintiffs “consist[s] of a single statement in the non-associational Plaintiffs’ declarations.” Def. Br. at 9. In

 fact, Plaintiffs presented six declarations in which each of the plaintiffs averred that they would need to spend

 time and effort to make the required filings, and incur legal costs in the process. See Pl. Br., Ex. A-F.

          While the Government glibly says that the compliance costs won’t be significant, Def. Br. at 9, just

 as in Rest. Law Ctr., the Government ignores the points made by each plaintiff as well as FinCEN’s own

 analysis. As each declarant averred, the compliance costs include not only filing the reports, but the cost of

 legal services to make sure that the information is comprehensive and accurate. See Pl. Br. at 9. FinCEN

 itself estimated the initial burden on entities like Plaintiffs would be 126.3 million hours, for a total cost of

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 approximately $22.7 billion. See 87 Fed. Reg. 59498, 59585-86. These costs arise for filing initial reports,

 reviewing information, and complying with ongoing duties to update them when information changes. Id. at

 59581. FinCEN also recognized that entities face different regulatory burdens depending on their “beneficial

 ownership structure,” with “simple,” “intermediate” and “complex” structures facing differing obligations, with

 the burden on each filer to file initial reports as $85.14, $1,350, and $2,614.87 respectively, and the burden

 to update the reports for each filer as $37.84, $299.33, and $560.81. Id. at 59574, 59576. Thus, FinCEN says

 that each named plaintiff, assuming they are the simplest of filers, would incur more than $100 in compliance

 costs in the first year; if any were complex, that number rises to well over $3,000 each. See id. Many of the

 plaintiffs, such as the Libertarian Party of Mississippi (MSLP), have complex structures that make compliance

 difficult. See, e.g., Ex. E at ¶¶ 16-20. The National Federation of Independent Business (NFIB)’s significant

 number of members range from very complex to very simple structures, each requiring some level of

 compliance costs. Ex. F at ¶¶ 5-7. This Court should therefore accept FinCEN’s concession that the CTA

 “will have a significant economic impact on a substantial number of small entities.” 87 Fed. Reg. at 59550.

 II. PLAINTIFFS HAVE A SUBSTANTIAL LIKELIHOOD OF SUCCESS

         In its response, the Government first applies the wrong standard to the relevant claims, saying that

 Plaintiffs “have not ‘clearly demonstrated’ that Congress lacked the constitutional authority to pass the CTA,”

 and that they failed to “establish that no set of circumstances exists under which the Act would be valid.” Def.

 Br. at 10 (citing United States v. Salerno, 481 U.S. 739, 745 (1987) and Nat’l Fed’n of Indep. Bus. v. Sebelius,

 567 U.S. 519, 538 (2012)). But neither presents the correct standard.

         At this stage, Plaintiffs need only show “a substantial likelihood of success” on one merits argument.

 Harrison v. Young, 48 F.4th 331, 339 (5th Cir. 2022). The Salerno “no set of circumstances” language “is

 correctly understood not as a separate test applicable to facial challenges, but a description of the outcome

 of a facial challenge in which a statute fails to satisfy the appropriate constitutional framework.” Club Madonna

 Inc. v. Miami Beach, 42 F.4th 1231, 1256 (11th Cir. 2022). Each claim must pass “the relevant constitutional

 test,” and the Government cannot simply “conjure up just one hypothetical factual scenario” to justify its

 position. Id.; see also Am. for Prosp. v. Bonta, 594 U.S. 595, 615-16 (2021) (rejecting Salerno in facial First-

 Amendment challenge because of overbreadth that created risk of chilled speech).

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           A. The CTA Exceeds Congress’ Enumerated Powers

           The CTA is unlawful because it exceeds the limited, enumerated, powers given to the federal

 government.1 The Government’s attempts to justify the statute under the federal commerce power,

 augmented by the Necessary and Proper Clause, must fail. See Def. Br. at 10-11.

           There are “three broad categories of activity that Congress may regulate under its commerce power.

 First, Congress may regulate the use of the channels of interstate commerce. Second, Congress is

 empowered to regulate and protect the instrumentalities of interstate commerce, or persons or things in

 interstate commerce, even though the threat may come only from intrastate activities. Finally, Congress’

 commerce authority includes the power to regulate those activities having a substantial relation to interstate

 commerce.” United States v. Lopez, 514 U.S. 549, 558-59 (1995).

           The CTA applies to “reporting companies,” defined (with a list of exceptions) as entities “created by

 the filing of a document” “with a secretary of state or a similar office.” 31 U.S.C. § 5336(a)(11). The CTA then

 mandates that those entities report information about their beneficial owners and applicants to FinCEN. Id. §

 5336(b)(1)-(2)(A). The CTA thus applies irrespective of financial or commercial activity, much less interstate

 or international activity. The Government even conceded in prior litigation that the Act’s application to merely

 “filing [] a document” with a registrar is not a direct regulation of interstate commerce, and it has not disavowed

 that concession here. See NSBU v. Yellen, No. 5:22-cv-1448-LCB, 2024, U.S. Dist. LEXIS 36205, at *39

 (N.D. Ala. Mar. 1, 2024). “Because the CTA does not regulate commerce on its face, contain a jurisdictional

 hook, or serve as an essential part of a comprehensive regulatory scheme, it falls outside Congress’ power

 to regulate non-commercial, intrastate activity.” Id. at *55.

           The Government insists that the CTA is justified by all three categories from Lopez. But its argument

 concerning the first two categories is obviously wrong. The Government says that the CTA lawfully regulates

 “the channels of, and entities in, interstate commerce,” but then only asserts that “[e]ntities constituting CTA

 1 The Government feigns confusion on this issue, noting that “Plaintiffs’ Complaint appears to assert a claim under the Tenth

 Amendment,” but then insisting that “Plaintiffs do not brief this claim in their motion.” Def. Br. at 23 n. 7. As Plaintiffs argued in their
 opening brief, though, “The Tenth Amendment confirms that the federal Constitution reserves all ‘powers not delegated to the
 United States by the Constitution, nor prohibited by it to the States,’ ‘to the States respectively, or to the people’” and, “[a]n individual
 plaintiff may challenge federal action as exceeding Congress’s limited, enumerated, powers.” Pl. Br. at 10 (citing Bond v. United
 States, 564 U.S. 211, 222 (2011)) (emphasis added).

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 reporting companies utilize the channels of interstate commerce, including telecommunications and

 electronic bank routing systems.” See Def. Br. at 19. It doesn’t say that Plaintiffs do so, it simply argues that

 some corporations do. The Government then says, “Congress’s power to regulate interstate commerce

 extends beyond directly regulating such networks, and includes the power to regulate those entities who seek

 to misuse those channels to commit economic crimes.” Id. But the CTA does not regulate channels or

 instrumentalities, and it applies regardless of whether an entity uses them. Accordingly, it cannot be justified

 by the first two classes of permissible commerce regulation. See Lopez, 514 U.S. at 549. Even a cursory

 review of the examples the Court gave in Lopez of regulating “channels” and “instrumentalities” (id. at 558-

 59) demonstrate that the CTA simply cannot be shoehorned into those regulatory categories.

         The Government thus attempts to justify the CTA as a means to “effectuate[] legitimate prohibitions

 on harmful forms of economic activity,” Def. Br. at 13, rather than a direct regulation of interstate commerce.

 In other words, the Government says the CTA is valid “because it regulates economic activity with a

 substantial effect on interstate commerce.” Def. Br. at 15.

         When a statute relies on the third Lopez category the question is whether the statute regulates “an

 economic class of activities” or “non-economic activity.” Gulf Coast Hotel-Motel Ass’n v. Miss. Gulf Coast

 Golf Course Ass’n, 658 F.3d 500, 505 (5th Cir. 2011). Only when the regulated activities “are part of an

 economic ‘class of activities’ that have a substantial effect on interstate commerce,” may a court consider

 their aggregate interstate consequences. Gonzales v. Raich, 545 U.S. 1, 17 (2005).

         The Government assumes the CTA regulates economic activity, and accuses Plaintiffs of “improperly

 focus[ing] on edge cases and possible exceptions.” Def. Br. at 16. But the CTA doesn’t regulate an economic

 class of activity at all because filing a paper with a state to create an entity is not an economic activity, even

 if some of the entities will eventually engage in commerce. See Pl. Br. at 15. Regulating the filing of a paper

 is not an “edge” case, but the very essence of the CTA.

         The Government says that Plaintiffs’ argument “misconstrues the CTA as having nothing to do with

 commercial activity, as if the act of incorporation bears no rational connection to such activity.” Def. Br. at 15.

 A “connection” is not enough or the result in Lopez and Morrison would have been different. The statute must

 regulate commercial activity. The Government can’t aggregate non-economic activity simply because many

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 regulated parties might also engage in commercial conduct. See Taylor v. United States, 579 U.S. 301, 306

 (2016). For instance, the Government insists that MSLP’s wholly intrastate activities are similar to interstate

 commerce, because the party “holds assets in its own name and transfers money derived from donations,”

 Def. Br. at 16, even though the CTA does nothing to regulate the small sums it uses for political expenditures

 within Mississippi. See Ex. E at ¶¶ 14-15. If the Government was correct, then it could regulate any person

 in any manner, simply because that person will likely engage in interstate commerce in other instances

 throughout his life. Cf. NFIB, 567 U.S. at 557 (“The Commerce Clause is not a general license to regulate an

 individual from cradle to grave, simply because he will predictably engage in particular transactions.”).

         The Government’s further reliance on findings about money laundering and international terrorism

 errs. The Government points to lofty statements made by Congressional committees that a “‘lack of

 transparency’ [in state law] has been ‘a primary obstacle to tackling financial crime in the modern era,’” and

 Congressional findings in the Act’s preamble suggesting that “[v]arious economic crimes are made easier to

 commit, and harder to discover, through the formation of corporate entities that may conduct economic

 transactions in their own names without disclosing beneficial ownership information.” Def. Br. at 12. Tellingly,

 the Government omits the operative language of the CTA and its operation broadly to a class of noneconomic

 activity—the filing of a document with a state registrar. “Simply because Congress may conclude that a

 particular activity substantially affects interstate commerce does not necessarily make it so.” Morrison, 529

 U.S. at 614. Whatever the goals, “No matter how inherently integrated” an activity regulated (or mandated)

 by a law is with commerce, “they are not the same thing: They involve different transactions, entered into at

 different times, with different” parties. NFIB, 567 U.S. at 558.

         The Government next says the CTA forms “a critical part of the federal government’s comprehensive

 anti-money laundering regime” because it “is a part” of the Anti-Money Laundering Act of 2020 (AMLA), and

 that “failure to include the CTA in the AMLA would have left a ‘gaping hole’ in Congress’s efforts to curb illicit

 financial activity.” Def. Br. at 11-13. The CTA was one of hundreds of laws rolled into an end-of-year defense

 budget statute. See National Defense Authorization Act (NDAA) for Fiscal Year 2021, Pub. L. 116-283. AMLA

 was divided into divisions within the NDAA, with four sections amending the Bank Secrecy Act, and the final



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 constituting the CTA. See id., Section 6002. The CTA was the only stand-alone statute, and there is nothing

 to indicate it is “integral” to the rest of the omnibus law or AMLA. See id.

         To be sure, “Congress can regulate purely intrastate activity that is not itself ‘commercial,’ . . . if it

 concludes that failure to regulate that class of activity would undercut the regulation of the [relevant] interstate

 market.” Raich, 545 U.S. at 18. But Raich’s lesson was that the historical regulation of the entire market of

 illicit drugs might be undermined by individual exemptions for home-grown marijuana. See id. at 41-42.

 FinCEN’s role in combatting financial crime in no way depends on the upcoming CTA registration regime. (If

 it did, it is hard to understand why Congress made it effective four years after passage; money laundering

 has not been on hiatus during the interim.) The CTA isn’t constitutional just because it might make things

 easier for FinCEN as a financial regulator. Nor can Congress issue any law with no apparent connection to

 an enumerated power simply because it has already entered a permissible subject area. If that were the

 case, then Congress’ longstanding regulation of the healthcare market would have authorized the Affordable

 Care Act under the commerce power. Cf. NFIB, 567 U.S. at 560 (“No longer would Congress be limited to

 regulating under the Commerce Clause those who by some preexisting activity bring themselves within the

 sphere of federal regulation. Instead, Congress could reach beyond the natural limit of its authority and draw

 within its regulatory scope those who otherwise would be outside of it.”).

         The Government finally relies upon the Necessary and Proper Clause, which the Supreme Court has

 labelled the “last, best hope of those who defend ultra vires congressional action.” Printz v. United States,

 521 U.S. 898, 923 (1997). Specifically, it leans on Congress’ ability to conduct foreign affairs and lay and

 collect taxes, and while never directly claiming these enumerated powers support the CTA, it insists that the

 statute is a necessary and proper means of effectuating them. See Def. Br. at 19-23.

         The Clause “does not license the exercise of any great substantive and independent powers beyond

 those specifically enumerated.” NFIB, 567 U.S. at 559. So, even though it might prefer not to, the Government

 must still show the CTA is both “necessary” and “proper” to serve an enumerated power. Id. at 560.

         Neither the power over foreign affairs nor the taxing power justify the CTA. For the former, the

 Government insists, vaguely, that “the CTA is necessary to prevent interstate and international money

 laundering, terrorism financing, and tax evasion.” Def. Br. at 21. Yet foreign entities wishing to do business

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 in this country are only a small subset of the entities that must register under the CTA. See 31 U.S.C. §

 5336(a)(11). A possible international application of a domestic statute is not a magic escape valve for all

 limits on federal authority. See Bond, 572 U.S. at 883 (Scalia, J., concurring).

          The taxing power likewise fails, because the CTA is not a “tax,” which is an “exaction” that “produces

 at least some revenue for the Government.” See NFIB, 567 U.S. at 564. Allowing Congress to rely on the

 taxing power here, through some derivative application of the Necessary and Proper Clause, would mean

 that any act that could conceivably lead the federal government to someday gather revenue would be

 permissible. Such broad federal power is hardly “narrow in scope” or “incidental” to the taxing power, and

 thus cannot justify the CTA. See NFIB, 567 U.S. at 560.

          B. The CTA Impermissibly Chills Protected First Amendment Activities

          The Court’s decision in Americans for Prosperity v. Bonta, 594 U.S. 595 (2021) shows that the CTA

 violates First Amendment scrutiny. There, as here, a law mandating disclosure of the identities of people who

 influence the actions of expressive associations violated exacting First Amendment scrutiny. Running

 headlong into this precedent, the Government insists, however, that the CTA is constitutional because it

 doesn’t implicate expressive interests at all and isn’t subject to any constitutional scrutiny. Def. Br. at 23-24.

          But the CTA mandates disclosure of the identities of members of organizations that engage in

 expressive activities. See Pl. Br. at 21-22. The relevant threshold question is thus whether Plaintiffs engage

 in “expressive association.” See McDonald v. Longley, 4 F.4th 229, 245 (5th Cir. 2021).

          Despite the Government’s flippant view that the CTA’s mandates are insubstantial, the statute

 sweeps expressive conduct into its orbit, such as the identities of those associated with the political advocacy

 of NFIB (such as Data Comm for Business, Inc.) and the identities of MSLP’s control persons. See Pl. Br. at

 21-23. The Government also does not dispute that the CTA was intended in part to allow the government to

 determine “the identities behind big political spending.” See Congressional Record, Vol. 163, No. 101 at

 S3469.2 The CTA thus plainly applies to expressive association.



 2 Perhaps because it realizes that MSLP has such profound expressive interests at stake, the Government insists that the MSLP

 has no basis to complain about the CTA’s burdens because the CTA provides an exemption for other political parties. See Def. Br.
 at 25-26. It does not dispute that MSLP must comply.

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         The Government ignores each of the expressive activities outlined by Plaintiffs, choosing instead to

 note that the regimes in AFP and NAACP v. Ala. ex rel. Patterson, 357 U.S. 449 (1958), differed somewhat

 from the CTA’s. See Def. Br. at 25. As the CTA’s disclosures implicate expressive concerns, the

 Government’s point speaks only to the application of constitutional scrutiny.

         As the Court said in AFP, “disclosure requirement imposes a widespread burden on donors’

 associational rights. And this burden cannot be justified on the ground that the regime is narrowly tailored to

 investigating charitable wrongdoing, or that the State’s interest in administrative convenience is sufficiently

 important.” 594 U.S. at 618. Ignoring the relevant test, the Government never explains why there is “a

 substantial relation between the disclosure requirement and a sufficiently important governmental interest.”

 See id. at 611. But the CTA fails scrutiny in part because it applies to Plaintiffs’ expressive activities while it

 exempts many other entities involved in financial transactions. See 31 U.S.C. § 5336(a)(11)(B).

         The Government’s arguments next focus on whether the Act censors protected speech, saying that

 “Plaintiffs offer no evidence that someone would hesitate to become an owner of a company because the

 fact of their ownership would become known to the federal government[.]” Def. Br. at 25. The Government

 also claims that none of Plaintiffs’ expressive interests are meaningful, because some information about

 some of the plaintiffs is already publicly available. Id.

         These arguments are both irrelevant and incorrect. The CTA’s unlawful demands “might chill

 association.” See AFP, 594 U.S. at 615 (emphasis added). Plaintiffs need not “show[] that [individuals

 connected to a] substantial number of organizations will be subjected to harassment and reprisals,” because

 the risk of chilled association outweighs the Government’s interest in its overbroad regime. Id. at 617.

 Plaintiffs have also averred that they have yet to comply with the CTA because of its intrusion into protected

 interests. See Pl. Br. at 6-7. And while some associational information has already been disclosed by some

 of the plaintiffs, much more undisclosed information relates to expressive concerns. See id.

         C. The CTA Invades Fourth Amendment Interests with Insufficient Oversight

         The decision in City of L.A. v. Patel, 576 U.S. 409, 421 (2015), demonstrates that the CTA facially

 violates the Fourth Amendment. Faced with this precedent, the Government relies heavily on Cal. Bankers

 Ass’n v. Shultz, 416 U.S. 21 (1974), to justify its widespread practice. See Def. Br. 26-27.

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           A careful examination of Shultz, which dealt with mandated reports from banks to the government

 about their customers’ transactions, shows the limits of that case. See 416 U.S. at 25-26, 66-67. The Court

 held that the “requirements for the reporting of domestic financial transactions abridge no Fourth Amendment

 right of the banks themselves.” Id. at 66. As to a more significant challenge raised by the accountholders, the

 Court avoided the issue because of the third-party doctrine—customers had voluntarily disclosed this

 information and given up their privacy interests in it. Id. at 69. But Plaintiffs have done no such thing here, as

 they must compile and disclose the relevant information because of the CTA. As the Government does not

 contest, Plaintiffs also have a reasonable expectation of privacy in the information at issue because it is

 concededly confidential and reveals information that touches on associational rights. See Pl. Br. at 27.

           As more recent cases have explained, the outcome in most Fourth Amendment cases relies on the

 presence or absence of a reasonable expectation of privacy in the target of a search. See Carpenter v. United

 States, 585 U.S. 296, 310 (2018). While Shultz showed that the “government may require businesses to

 maintain records and make them available for routine inspection when necessary to further a legitimate

 regulatory interest,” that holding was tempered by the requirements that the demand be “‘sufficiently limited

 in scope, relevant in purpose, and specific in directive so that compliance will not be unreasonably

 burdensome.’” Patel v. City of L.A., 738 F.3d 1058, 1064 (9th Cir. 2013) (en banc) (citing Shultz, 416 U.S.

 21, 45-46, and quoting Oklahoma Press Pub. Co. v. Walling, 327 U.S. 186, 208-09 (1945)), aff’d 576 U.S.

 409 (2015). The Court has since explained that Shultz was a case involving “requests for evidence implicating

 diminished privacy interests or for a corporation’s own books,” and rejected the view that “the Government

 may subpoena third parties for records in which the suspect has a reasonable expectation of privacy.”

 Carpenter, 585 U.S. at 317-18, 318 n. 5.3

           Shultz, as well as Donovan v. Lone Steer, Inc., 464 U.S. 408, 414 (1984), actually demonstrate the

 flaw in the CTA. Both cases applied the Oklahoma Press standard for government demands for private

 records. See Donovan, 464 U.S. at 414; Shultz, 416 U.S. at 67. That was the same standard at issue in Patel,


 3 The Government’s invocation of other disclosure laws that it claims might be threatened by limits on the CTA falls flat. See Def.

 Br. at 27. These laws are not at issue here, and demand much different information from much different entities, often implicating
 the third-party doctrine. Anyway, just because they have long been “understood to be constitutional” by the Government, and
 apparently not challenged in court, this is not proof that they are valid. See id.

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 which imposes two requirements: (1) individualized suspicion and (2) precompliance review. See Donovan,

 464 U.S. at 415; Patel, 738 F.3d at 1064. Both safeguards are absent in the CTA.

           The Government argues that the Supreme Court’s decision in Patel is inapposite, because it involved

 “an ordinance that permitted police officers to enter hotels and inspect their guest registers at any time of the

 day or night, as often as they liked,” rather than the CTA’s “reporting requirement,” Def. Br. at 28, but it

 otherwise makes no attempt to address that case’s broader application. The decision in Patel makes clear

 that if a government cannot force a hotel to compile information about its guests and disclose it on demand

 absent specific precompliance measures and targeted suspicion, the government surely cannot force

 Plaintiffs to compile even more invasive information and be forced to disclose it without even being asked. 4

           The Government next says, “Any asserted privacy interest would in any event be minimized by

 detailed statutory safeguards that Plaintiffs do not address.” Def. Br. at 27. The Fourth Amendment limits

 government collection of information, so Defendants’ reliance on safeguards that deal with how it will use the

 information it has already collected is completely irrelevant. See Patel, 576 U.S. at 421.

           Finally, the Government says that there is no constitutional problems because “the CTA falls within

 the ‘special needs’ exception.” Def. Br. at 28. The Court already rejected that argument in Patel, concluding

 that even if the exception applied, without precompliance review, mandatory disclosure rules would not

 “provide a constitutionally adequate substitute for a warrant,” which is required even in closely-regulated

 industries. 537 U.S. at 426 (citation omitted).5

                                                          CONCLUSION

           This Court should preliminarily enjoin Defendants from enforcing the CTA and its implementing

 regulations.6

 4 Of course, Plaintiffs also addressed reporting statutes in their opening brief, noting that some courts have reviewed such laws

 under the Due Process Clause under “intermediate scrutiny.” See Pl. Br. at 26 n. 4 (citing Statharos v. NYC Taxi & Limo. Comm’n,
 198 F.3d 317, 322-23 (2d Cir. 1999)). The Government doesn’t bother to address that authority or show the CTA meets that level
 of scrutiny. The CTA thus likely violates due process, if nothing else.
 5 Moreover, the Fifth Circuit has said, “Because this exception is narrow, federal courts must not define the industry at issue at too

 high a level of generality[,]” and has refused to create new exceptions absent extremely pervasive regulation. Mexican Gulf Fishing
 Co. v. DOC, 60 F.4th 956, 968 (5th Cir. 2023). The CTA’s novel application to every industry, including political parties like MSLP,
 family farms like Mustardseed Livestock LLC, or any of the hundreds of thousands of small businesses comprising NFIB’s
 members, is not a mere extension of pervasive oversight of a discrete and uniquely dangerous industry.
 6 The Government insists that any injunction should be limited to the parties in this case. See Def. Br. 29-30. But Defendants are

 the only entities who could enforce the CTA, so the requested relief hardly threatens to bind non-parties.

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 DATED: July 3, 2024.

                                                 Respectfully submitted,

                                                 /s/ Caleb Kruckenberg
                                                 CALEB KRUCKENBERG*
                                                 Center for Individual Rights
                                                 1100 Conn. Ave. N.W., Suite 625
                                                 Washington, D.C. 20036
                                                 DC Bar No. 1617890
                                                 202-833-8401
                                                 kruckenberg@cir-usa.org
                                                 Lead Attorney for Plaintiffs


                                                 *Admitted Pro Hac Vice
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                                         CERTIFICATE OF SERVICE

         I hereby certify that on July 3, 2024, I electronically filed the foregoing with the Clerk of Court using

 the CM/ECF system which sent notification of such filing to all counsel of record.

                                                                      Respectfully submitted,

                                                                      /s/ Caleb Kruckenberg
                                                                      CALEB KRUCKENBERG*

                                                                      *Admitted Pro Hac Vice
